                                        Case 16-10001-JKO                          Doc 15             Filed 01/15/16                   Page 1 of 46

 Fill in this information to identify your case:

 Debtor 1                  Kevin Christopher Gleason
                           First Name                           Middle Name                         Last Name

 Debtor 2
 (Spouse if, filing)       First Name                           Middle Name                         Last Name

 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,249,890.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              69,614.04

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,319,504.04

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,256,140.88

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             195,083.62


                                                                                                                                  Your total liabilities $               1,451,224.50


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
                                                                        Schedule I is on extension
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
                                                                  Schedule J is on extension
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                      0.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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 Debtor 1      Kevin Christopher Gleason                                                  Case number (if known) 16-10001-JKO

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $
                                                                                Official Form 122 is on extension
 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Kevin Christopher Gleason
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name

 United States Bankruptcy Court for the:                     SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO                                                                                                                             Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In                        *
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply
        1442 Polk Street                                                           Single-family home                            Do not deduct secured claims or exemptions. Put the
        Street address, if available, or other description                                                                       amount of any secured claims on Schedule D:
                                                                                   Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
        Hollywood                         FL        33020-5245                     Land                                          entire property?           portion you own?
        City                              State          Z P Code                  Investment property                                 $529,950.00                  $529,950.00
                                                                                   Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                   Other                                         (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one       a life estate), if known.
                                                                                   Debtor 1 only                                 Fee Owner subject to dower interest
        Broward                                                                    Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                     Check if this is community property
                                                                                   At least one of the debtors and another           (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Personal residence since 2009. Subject to non-recourse mortgage. LOTS
                                                                            25 AND 26, BLOCK 94, OF HOLLYWOOD, ACCORDING TO THE PLAT
                                                                            THEREOF, RECORDED IN PLAT BOOK 1, PAGE 21, OF THE PUBLIC
                                                                            RECORDS OF BROWARD COUNTY, FLORIDA. Property # 5142 15 02
                                                                            7620. Folio # 692739




* All real property values are as determined by the property appraiser of the respective County.




Official Form 106A/B                                                              Schedule A/B: Property                                                                      page 1
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 Debtor 1        Kevin Christopher Gleason                                                                            Case number (if known)          16-10001-JKO

       If you own or have more than one, list here:
 1.2                                                                 What is the property? Check all that apply
       4121 N 31st Avenue                                                   Single-family home                              Do not deduct secured claims or exemptions. Put the
       Street address, if available, or other description                                                                   amount of any secured claims on Schedule D:
                                                                            Duplex or multi-unit building
                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                            Condominium or cooperative

                                                                            Manufactured or mobile home
                                                                                                                            Current value of the          Current value of the
       Hollywood                        FL         33021-2011               Land                                            entire property?              portion you own?
       City                             State           Z P Code            Investment property                                    $157,310.00                   $157,310.00
                                                                            Timeshare
                                                                                                                            Describe the nature of your ownership interest
                                                                            Other                                           (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one         a life estate), if known.
                                                                                                                            1/2 undivided interest as
                                                                            Debtor 1 only                                   tenant-by-entireties
       Broward                                                              Debtor 2 only
       County                                                               Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                            At least one of the debtors and another              (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:

                                                                     Business location. THE SOUTH 105 FEET OF THE NORTH 555 FEET OF
                                                                     THE EAST 130 FEET OF THE WEST 1/2 OF THE NORTHWEST 1/4 OF THE
                                                                     NORTHEAST 1/4 OF THE NORTHEAST 1/4 OF SECTION 5, TOWNSHIP 51
                                                                     SOUTH, RANGE 42 EAST, SAID LANDS SITUATE, LYING AND BEING IN
                                                                     BROWARD COUNTY, FLORIDA. Property # 5142 05 00 0040 Folio # 58872


       If you own or have more than one, list here:
 1.3                                                                 What is the property? Check all that apply
       1312 Polk Street                                                     Single-family home                              Do not deduct secured claims or exemptions. Put the
       Street address, if available, or other description                                                                   amount of any secured claims on Schedule D:
                                                                            Duplex or multi-unit building
                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                            Condominium or cooperative

                                                                            Manufactured or mobile home
                                                                                                                            Current value of the          Current value of the
       Hollywood                        FL         33019-1037               Land                                            entire property?              portion you own?
       City                             State           Z P Code            Investment property                                    $559,800.00                   $559,800.00
                                                                            Timeshare
                                                                                                                            Describe the nature of your ownership interest
                                                                            Other                                           (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one         a life estate), if known.
                                                                                                                            1/2 undivided interest as
                                                                            Debtor 1 only                                   tenant-by-entireties
       Broward                                                              Debtor 2 only
       County                                                               Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                            At least one of the debtors and another              (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:

                                                                     Landlord occupational license location. LOTS 17, 18, 19 AND THE EAST
                                                                     4.00 FEET OF THE SOUTH 50.00 FEET OF LOT 20, BLOCK 10,
                                                                     HOLLYWOOD LAKES SECTION, A SUBDIVISION ACCORDING TO THE
                                                                     PLAT OR MAP THEREOF, AS RECORDED IN PLAT BOOK 1, PAGE 32 OF
                                                                     THE PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA. TAX#
                                                                     514214-01-1930 Folio # 690136




Official Form 106A/B                                                    Schedule A/B: Property                                                                              page 2
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 Debtor 1          Kevin Christopher Gleason                                                                               Case number (if known)          16-10001-JKO

        If you own or have more than one, list here:
 1.4                                                                     What is the property? Check all that apply
        16469 NW 288TH ST                                                        Single-family home                              Do not deduct secured claims or exemptions. Put the
        Street address, if available, or other description                                                                       amount of any secured claims on Schedule D:
                                                                                 Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                 Condominium or cooperative

                                                                                 Manufactured or mobile home
                                                                                                                                 Current value of the          Current value of the
        Okeechobee                       FL                                      Land                                            entire property?              portion you own?
        City                             State           Z P Code                Investment property                                        $5,660.00                     $2,830.00
                                                                                 Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                 Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one          a life estate), if known.
                                                                                                                                 a 1/2 interest as Tenants by Entireties
                                                                                                                                 in a 1/2 interest as tenants in
                                                                                 Debtor 1 only                                   common
        Okeechobee                                                               Debtor 2 only
        County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                 At least one of the debtors and another              (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:

                                                                         Vacant land accepted in lieu of a fee. Parcel ID
                                                                         1-14-34-33-0A00-00030-O000, LOT O OF TRACT 30 W1/2 OF E1/2 OF S1/2
                                                                         OF S1/2 OF TRACT 30 14 34S 33E


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $1,249,890.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:        Ford                                         Who has an interest in the property? Check one                Do not deduct secured claims or exemp ions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
          Model:       E150                                            Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
          Year:        1997                                            Debtor 2 only                                              Current value of the         Current value of the
          Approximate mileage:                      193123             Debtor 1 and Debtor 2 only                                 entire property?             portion you own?
          Other information:                                           At least one of the debtors and another
          Personal vehicle. VIN:
         1FDEE14L1VHB51192 Title No:                                   Check if this is community property                                     $500.00                      $500.00
         73724479, Poor condition,                                     (see instructions)

         accident history (2)

                       Toyota                                                                                                     Do not deduct secured claims or exemp ions. Put
  3.2     Make:                                                     Who has an interest in the property? Check one
                                                                                                                                  the amount of any secured claims on Schedule D:
          Model:       Prius II                                        Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
          Year:        2015                                            Debtor 2 only                                              Current value of the         Current value of the
          Approximate mileage:                          1323           Debtor 1 and Debtor 2 only                                 entire property?             portion you own?
          Other information:                                           At least one of the debtors and another
         Business use. VIN
         JTDKN3DU8F1987829. Value                                      Check if this is community property                                $17,308.00                    $17,308.00
         stated is purchase price on                                   (see instructions)

         12/09/15. Usually at 4121 N 31st
         Ave. Hollywood, FL 33021



Official Form 106A/B                                                         Schedule A/B: Property                                                                              page 3
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 Debtor 1         Kevin Christopher Gleason                                                                     Case number (if known)    16-10001-JKO

  3.3    Make:       Suzuki                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemp ions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      DR200                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                    4021                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Rough condition. VIN
        JS1SH42A862101308 Titled in                                  Check if this is community property                          $400.00                     $400.00
        Kevin Gleason, P.A., a                                       (see instructions)

        dissolved Florida corporation
        Kept at 4121 N 31st Ave,
        Hollywood, FL 33021

  3.4    Make:       Honda                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemp ions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Ruckus 50                                       Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2005                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                    6155                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        VIN JH2AF580X5K200102 Titled
        in name of Kevin Gleason, P.A.,                              Check if this is community property                          $100.00                     $100.00
        a dissolved Florida corporation.                             (see instructions)

        Broken. Located at mechanic's
        home.

  3.5    Make:       Honda                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemp ions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Rebel                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1986                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  16093                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        VIN DH2AF580X5K200102.
        Not running bought for parts.                                Check if this is community property                          $100.00                     $100.00
        Stored at 4121 N 31st Ave.                                   (see instructions)



                     Honda                                                                                             Do not deduct secured claims or exemp ions. Put
  3.6    Make:                                                 Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Rebel                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1987                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                    5571                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        VIN JH2PC1701HM103490
        Project bike, not running.                                   Check if this is community property                          $100.00                     $100.00
        Stored at 4121 N 31st Ave.                                   (see instructions)



                     American Hauler                                                                                   Do not deduct secured claims or exemp ions. Put
  3.7    Make:                                                 Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Cargo Trailer                                   Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                      NA                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Rough condition, needs tires,
        used for storage at 4121 N 31st                              Check if this is community property                          $100.00                     $100.00
        Ave. Titled in SPF Water                                     (see instructions)

        Systems, Inc, a dissolved
        Florida corporation




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 4
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 Debtor 1         Kevin Christopher Gleason                                                                       Case number (if known)        16-10001-JKO

  3.8    Make:       Snowbear                                  Who has an interest in the property? Check one              Do not deduct secured claims or exemp ions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:      450LHD                                          Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                      N/A               Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Rough condition.
                                                                     Check if this is community property                                $100.00                   $100.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Kayak                                     Who has an interest in the property? Check one
                                                                                                                           Do not deduct secured claims or exemp ions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:      Plastic                                         Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                         Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Kayak, new price was $199 in                                Check if this is community property                              $100.00                     $100.00
         2014                                                        (see instructions)


  4.2    Make:       Canoe, Double Kayak                       Who has an interest in the property? Check one
                                                                                                                           Do not deduct secured claims or exemp ions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:      Canoe, Double Kayak                             Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                         Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Cheap canoe owned as TBE,                                   Check if this is community property                              $300.00                     $150.00
         Double Kayak owned as TBE                                   (see instructions)


  4.3    Make:       Misc                                      Who has an interest in the property? Check one
                                                                                                                           Do not deduct secured claims or exemp ions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:      Boat Accessories                                Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                         Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Trolling motors (3), one broken,                            Check if this is community property                              $100.00                     $100.00
         one over 10 years old, one                                  (see instructions)

         "new", and 2 trolling batteries

  4.4    Make:       Chinese ATV                               Who has an interest in the property? Check one
                                                                                                                           Do not deduct secured claims or exemp ions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
         Model:      250                                             Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                         Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         2-wheel drive, all terrain                                  Check if this is community property                                $50.00                      $50.00
         vehicle, barely working, pretty                             (see instructions)

         banged up, stored at 1312 Polk
         St, Hollywood, FL 33019


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>              $19,108.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the

Official Form 106A/B                                                       Schedule A/B: Property                                                                      page 5
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 Debtor 1       Kevin Christopher Gleason                                                           Case number (if known)    16-10001-JKO
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    All purchased in 2010, installed in 1442 Polk St. Refrigerator, Gas
                                    Stove, Microwave, Dishwasher.                                                                               $1,000.00


                                    Washer and Dryer (at least 15 years old), came with the house.                                                  $50.00


                                    Sofa $25, 2 End Tables $200, Coffee Table $100, 2 Lamps $10,
                                    Desk $10, Dining Room Table & 6 Chairs $250, Chest $200,
                                    Mahogany Chest $50, 2 Armoires $100, 2 Night Stands $20, Bed
                                    $25, OutdoorFurniture $100, China & Flatware $100, Miscellaneous
                                    Small Appliances & Kitchen Items $100, Podium $1.00. Some
                                    furniture is at refinishers and has not been completed.                                                     $1,390.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Point and shoot cameras (2), old mp3 players, 2 am/fm radios,
                                    turntable for converting vinyl to digital                                                                     $100.00


                                    Lenovo 7" Android Tablet                                                                                        $20.00


                                    Kindle Fire and books thereon                                                                                   $20.00


                                    Flat panel TVs (3) all located at 1442 Polk St. $50/each (1 from
                                    Mom who died in 2008, so its at least 8 yrs old, another purchased
                                    around 2008, most recent one was purchased in 2010) DVD/Blue
                                    Ray player. $10                                                                                               $160.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Print entitled "Key West Garden", Royal Porcelain Figurines &
                                    Vase , Wai Ming Oil Painting, Tomasz Rut Print, prints and other
                                    wall art of inconsequential value, family photos of value only to
                                    the family. Yard art two birds.                                                                             $1,000.00


                                    Hawaiian vase                                                                                                   $20.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....
Official Form 106A/B                                                 Schedule A/B: Property                                                           page 6
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 Debtor 1       Kevin Christopher Gleason                                                         Case number (if known)   16-10001-JKO


                                    Well used camping equipment, hunting equipment, knives, tools                                          $100.00


                                    Bicycles(2), one broken.                                                                               $100.00


                                    1979-80 Japanese Epiphone guitar ($25), Recorder and Penny
                                    Whistle ($1)                                                                                             $26.00


                                    Motorcycle transport rack                                                                                $10.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Personal Firearms, inventory to be provided to trustee and
                                    interested parties upon request                                                                       $2,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Personal clothing of value to debtor only. Nominal value
                                    assigned.                                                                                                  $1.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Gold wedding band. Diver's watch. Pocket watch (broken).
                                    Costume jewelry including cuff links, tie bars, belt buckles, bolo
                                    ties.                                                                                                  $500.00


                                    Collection of Cross pens                                                                               $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Family dog. Rat Terrier. Named Zippy. Security for office.                                                 $1.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                    Prescription medications, prescription glasses, inversion chair,
                                    roman chair                                                                                                $1.00




Official Form 106A/B                                                 Schedule A/B: Property                                                    page 7
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 Debtor 1         Kevin Christopher Gleason                                                                                    Case number (if known)   16-10001-JKO


                                           Miscellaneous Holiday Decorations - 100.00; Miscellaneous
                                           (mostly reclaimed) Building Materials: 3 Sets Mahogany French
                                           Doors $300, Northland 36" Stainless Steel Refrigerator (no value),
                                           Northland 36" Stainless Steel Freezer (no value), Badger
                                           Insinkerator $10, Lutron Hi Hat Housing & Trims $10, 2 used
                                           Bidets $10, 1 used Toilet $10, Tile (no value), Microwave Oven (No
                                           Hanging Bracket) $10, an assortment of other reclaimed building
                                           materials with little or no value. Value of the entire lot is likely
                                           $500                                                                                                                          $500.00


                                           Vinyl records, stored at 4121 N 31st Ave. Mrs. Gleason's are
                                           mixed in.                                                                                                                       $25.00


                                           Consumables, food, wine, spices, canned goods, dry goods                                                                          $1.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $7,525.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                    Cash                                 $165.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:

                                                        Checking. Wage
                                             17.1.      Account                                Chase                                                                   $5,146.59

                                                                                               Peoples Alliance Federal Credit Union Acct.
                                             17.2.      Checking                               XXXXX381501                                                                   $0.00

                                                                                               Peoples Alliance Federal Credit Union Acct.
                                             17.3.      Savings                                XXXXX3815102                                                                  $0.00



                                             17.4.      Dunkin card                            Dunkin Donuts                                                               $20.00



                                             17.5.                                             PayPal                                                                        $0.00




Official Form 106A/B                                                                    Schedule A/B: Property                                                               page 8
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 Debtor 1       Kevin Christopher Gleason                                                           Case number (if known)   16-10001-JKO
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                              See Attached List, some held TBE                                                                   $5.70


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
        Yes. Give specific information about them...................
                                  Name of entity:                                                    % of ownership:

                                         Florida Registered Agents, Inc., dissolved                       100          %                         $1.00


                                         Kevin Gleason, P.A., a dissolved Florida
                                         professional services corporation                                100          %                         $1.00


                                         Condo Mini Storage, Inc., a dissolved Florida
                                         corporation                                                      100          %                         $1.00


                                         Kevin C. Gleason, P.A. , a dissolved Florida
                                         corporation                                                      100          %                         $1.00


                                         Kinsey & Gleason, P.A., a dissolved Florida
                                         corporation                                                       50          %                         $1.00


                                         Carter, Kinsey & Gleason, P.A. a dissolved
                                         Florida corporation                                              33.3         %                         $1.00


                                         SPF Water Systems, Inc., a dissolved Florida
                                         corporation                                                      100          %                         $1.00


                                         Florida Bankruptcy Group, LLC, a Florida limited
                                         liability company, owned 99% by Patricia E
                                         Gleason, P.A., and 1% by Kevin C Gleason and
                                         Patricia E Gleason as tenants-by-entireties                       .5          %                         $1.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                                               US Savings Bonds, stolen from my parents' house 30 years ago, might
                                   Issuer name:
                                                               still be able to claim them with a lot of research and work.
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                         Institution name:

                                      401(k)                             Paychex 401(k) Profit Sharing Plan and Trust,
                                                                         Plan # 249385.                                                     $9,104.16




Official Form 106A/B                                                 Schedule A/B: Property                                                      page 9
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Case # 16-10001-JK0

Schedule A/B, Item 18, Stocks publicly traded

               CUSIP           #           Ownership       Value/     Total
                               Shares                      Share      Value
               89366F107       28958       TBE             .0001      $2.90
               89366F107       28042       KCG             .0001      $2.80
               855691200       150000      TBE             0          0
               458424207       75000       TBE             0          0
               458423209       37500       TBE             0          0
               472482207       37500       TBE             0          0
               41165D106       28958       TBE             0          0
               41165D106       28042       KCG             0          0
               45107V108*      30          TBE             0          0
               92862K109       28958       TBE             0          0
               92862K109       28042       KCG             0          0
               251592101       75          KCG             0          0
               864005103       500         KCG             0          0

              All values determined by researching the CUSIP numbers as of
              12/31/15 online at
              http://quotes.fidelity.com/mmnet/SymLookup.phtml?reqforlookup
               REQUESTFORLOOKUP&productid mmnet&isLoggedIn mmn
              et&rows 50&for stock&by cusip&criteria 45107V108&submit
              Search


              * Paid cash in lieu of stock in the sum of $.14 total in May, 2014.
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 Debtor 1       Kevin Christopher Gleason                                                                  Case number (if known)   16-10001-JKO


                                        IRA                              American Funds, last 4 digits of acct # 3431.                           $17,010.98


                                        IRA                              Scottrade. Last 4 digits 7703. Transfers
                                                                         were made into this account from American
                                                                         Funds in the last weeks of 2015.                                        $11,511.61


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                        Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                    Florida Prepaid account for daughter.                                                                                $1.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
        Yes. Give specific information about them...

                                              Copyrights on photos, songs, and poems.                                                                    $1.00


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                              Law License, 369500                                                                                        $1.00


                                              Real Estate Sales License                                                                                  $1.00


                                              Concealed weapons permit, State of Florida                                                                 $1.00


                                              Florida Driver's License                                                                                   $1.00


                                              Occupational license as landlord at 1312 Polk St in name of
                                              Patricia Gleason only                                                                                      $1.00


                                              Florida Notary Public                                                                                      $1.00


 Money or property owed to you?                                                                                                       Current value of the

Official Form 106A/B                                                 Schedule A/B: Property                                                              page 10
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 Debtor 1       Kevin Christopher Gleason                                                             Case number (if known)   16-10001-JKO
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                        Potential tax refund for 2015                                                                   $0.00


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                          Surrender or refund
                                                                                                                                    value:

                                         Homeowner's Insurance, Title
                                         Insurance, Automobile Insurance,
                                         Term Life Insurance, Malpractice
                                         Insurance. No value.                                                                                    Unknown


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                     Claim against the estate of Alan Fleishman, c/o Elise
                                                     Fleishman for failure to inform of accruing real property
                                                     taxes at 18% interest or to pay proportionate share of real
                                                     property taxes.                                                                             Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
        Yes. Describe each claim.........

                                                     Claim against neighbor on the east side of 1312 Polk Street
                                                     for maintaining an illegal structure on the wall of 1312 Polk
                                                     Street. Owners are CAUCCI,ROBERT; SALVI,LUCY of the
                                                     property known as 222 N 13 AVENUE, HOLLYWOOD, their
                                                     mailing address is 8257 GIGUERE *LASALLE QC CA H8N 2B8
                                                     .                                                                                           Unknown
Official Form 106A/B                                                 Schedule A/B: Property                                                             page 11
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 Debtor 1         Kevin Christopher Gleason                                                                                         Case number (if known)      16-10001-JKO

35. Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $42,980.04


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                              Garden plants at 4121 N 31st Ave. Bananas (2 varieties), plantains,
                                              tomatoes, key limes, fruita bomba, etc... no value                                                                                    $1.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $1.00

 Part 8:        List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................           $1,249,890.00
 56. Part 2: Total vehicles, line 5                                                                        $19,108.00
 57. Part 3: Total personal and household items, line 15                                                    $7,525.00
 58. Part 4: Total financial assets, line 36                                                               $42,980.04
 59. Part 5: Total business-related property, line 45                                                           $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
 61. Part 7: Total other property not listed, line 54                                          +                $1.00

 62. Total personal property. Add lines 56 through 61...                                                   $69,614.04              Copy personal property total             $69,614.04

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $1,319,504.04




Official Form 106A/B                                                             Schedule A/B: Property                                                                             page 12
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 Fill in this information to identify your case:

 Debtor 1                Kevin Christopher Gleason
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1442 Polk Street Hollywood, FL                                 $529,950.00                                               Fla. Const. art. X, § 4(a)(1);
      33020-5245 Broward County                                                                                                Fla. Stat. Ann. §§ 222.01 &
      Personal residence since 2009.                                                       100% of fair market value, up to    222.02 Subject to
      Subject to non-recourse mortgage.                                                    any applicable statutory limit      non-recourse mortgage
      LOTS 25 AND 26, BLOCK 94, OF
      HOLLYWOOD, ACCORDING TO THE
      PLAT THEREOF, RECORDED IN
      PLAT BOOK 1, PAGE 21, OF THE
      PUBLIC RECORDS OF B
      Line from Schedule A/B: 1.1

      4121 N 31st Avenue Hollywood, FL                               $157,310.00                                               11 U.S.C. § 522(b)(3)(B)
      33021-2011 Broward County
      Business location. THE SOUTH 105                                                     100% of fair market value, up to
      FEET OF THE NORTH 555 FEET OF                                                        any applicable statutory limit
      THE EAST 130 FEET OF THE WEST
      1/2 OF THE NORTHWEST 1/4 OF THE
      NORTHEAST 1/4 OF THE
      NORTHEAST 1/4 OF SECTION 5,
      TOWNSHIP 51 SOUTH, R
      Line from Schedule A/B: 1.2




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 4
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 Debtor 1    Kevin Christopher Gleason                                                                   Case number (if known)     16-10001-JKO
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     1312 Polk Street Hollywood, FL                                  $559,800.00                                                  11 U.S.C. § 522(b)(3)(B)
     33019-1037 Broward County
     Landlord occupational license                                                         100% of fair market value, up to
     location. LOTS 17, 18, 19 AND THE                                                     any applicable statutory limit
     EAST 4.00 FEET OF THE SOUTH
     50.00 FEET OF LOT 20, BLOCK 10,
     HOLLYWOOD LAKES SECTION, A
     SUBDIVISION ACCORDING TO THE
     PLAT OR MAP THERE
     Line from Schedule A/B: 1.3

     16469 NW 288TH ST Okeechobee, FL                                  $2,830.00                                                  11 U.S.C. § 522(b)(3)(B)
     Okeechobee County
     Vacant land accepted in lieu of a fee.                                                100% of fair market value, up to
     Parcel ID                                                                             any applicable statutory limit
     1-14-34-33-0A00-00030-O000, LOT O
     OF TRACT 30 W1/2 OF E1/2 OF S1/2
     OF S1/2 OF TRACT 30 14 34S 33E
     Line from Schedule A/B: 1.4

     1997 Ford E150 193123 miles                                         $500.00                                                  Fla. Stat. Ann. § 222.25(1)
      Personal vehicle. VIN:
     1FDEE14L1VHB51192 Title No:                                                           100% of fair market value, up to
     73724479, Poor condition, accident                                                    any applicable statutory limit
     history (2)
     Line from Schedule A/B: 3.1

     2004 Snowbear 450LHD N/A miles                                      $100.00                                   $100.00        11 U.S.C. § 522(b)(3)(B)
     Rough condition.
     Line from Schedule A/B: 3.8                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2015 Canoe, Double Kayak Canoe,                                     $150.00                                                  11 U.S.C. § 522(b)(3)(B)
     Double Kayak
     Cheap canoe owned as TBE, Double                                                      100% of fair market value, up to
     Kayak owned as TBE                                                                    any applicable statutory limit
     Line from Schedule A/B: 4.2

     Misc Boat Accessories                                               $100.00                                                  11 U.S.C. § 522(b)(3)(B)
     Trolling motors (3), one broken, one
     over 10 years old, one "new", and 2                                                   100% of fair market value, up to
     trolling batteries                                                                    any applicable statutory limit
     Line from Schedule A/B: 4.3

     Sofa $25, 2 End Tables $200, Coffee                               $1,390.00                                 $1,390.00        11 U.S.C. § 522(b)(3)(B)
     Table $100, 2 Lamps $10, Desk $10,
     Dining Room Table & 6 Chairs $250,                                                    100% of fair market value, up to
     Chest $200, Mahogany Chest $50, 2                                                     any applicable statutory limit
     Armoires $100, 2 Night Stands $20,
     Bed $25, OutdoorFurniture $100,
     China & Flatware $100,
     Miscellaneous Small Applia
     Line from Schedule A/B: 6.3




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 4
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 Debtor 1    Kevin Christopher Gleason                                                                   Case number (if known)     16-10001-JKO
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Flat panel TVs (3) all located at 1442                              $160.00                                                  11 U.S.C. § 522(b)(3)(B)
     Polk St. $50/each (1 from Mom who
     died in 2008, so its at least 8 yrs old,                                              100% of fair market value, up to
     another purchased around 2008,                                                        any applicable statutory limit
     most recent one was purchased in
     2010) DVD/Blue Ray player. $10
     Line from Schedule A/B: 7.4

     Print entitled "Key West Garden",                                $1,000.00                                                   11 U.S.C. § 522(b)(3)(B)
     Royal Porcelain Figurines & Vase ,
     Wai Ming Oil Painting, Tomasz Rut                                                     100% of fair market value, up to
     Print, prints and other wall art of                                                   any applicable statutory limit
     inconsequential value, family photos
     of value only to the family. Yard art
     two birds.
     Line from Schedule A/B: 8.1

     Well used camping equipment,                                        $100.00                                                  11 U.S.C. § 522(b)(3)(B)
     hunting equipment, knives, tools
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Family dog. Rat Terrier. Named                                         $1.00                                                 11 U.S.C. § 522(b)(3)(B)
     Zippy. Security for office.
     Line from Schedule A/B: 13.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Prescription medications,                                              $1.00                                                 Fla. Stat. Ann. § 222.25(2)
     prescription glasses, inversion chair,
     roman chair                                                                           100% of fair market value, up to
     Line from Schedule A/B: 14.1                                                          any applicable statutory limit


     Miscellaneous Holiday Decorations -                                 $500.00                                      $0.00       11 U.S.C. § 522(b)(3)(B)
     100.00; Miscellaneous (mostly
     reclaimed) Building Materials: 3 Sets                                                 100% of fair market value, up to
     Mahogany French Doors $300,                                                           any applicable statutory limit
     Northland 36" Stainless Steel
     Refrigerator (no value), Northland
     36" Stainless Steel Freezer (no
     value), Badger Insinkerator
     Line from Schedule A/B: 14.2

     Consumables, food, wine, spices,                                       $1.00                                                 11 U.S.C. § 522(b)(3)(B)
     canned goods, dry goods
     Line from Schedule A/B: 14.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking. Wage Account: Chase                                    $5,146.59                                  $5,146.59        Fla. Stat. Ann. § 222.11(2)(b)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Paychex 401(k) Profit Sharing                            $9,104.16                                                   Fla. Stat. Ann. § 222.21(2)
     Plan and Trust, Plan # 249385.
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 3 of 4
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 Debtor 1    Kevin Christopher Gleason                                                                   Case number (if known)     16-10001-JKO
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     IRA: American Funds, last 4 digits of                           $17,010.98                                                   Fla. Stat. Ann. § 222.21(2)
     acct # 3431.
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Scottrade. Last 4 digits 7703.                             $11,511.61                                                   Fla. Stat. Ann. § 222.21(2)
     Transfers were made into this
     account from American Funds in the                                                    100% of fair market value, up to
     last weeks of 2015.                                                                   any applicable statutory limit
     Line from Schedule A/B: 21.3

     Florida Prepaid account for                                            $1.00                                                 Fla. Stat. Ann. § 222.22
     daughter.
     Line from Schedule A/B: 24.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Claim against the estate of Alan                                 Unknown                                                     11 U.S.C. § 522(b)(3)(B)
     Fleishman, c/o Elise Fleishman for
     failure to inform of accruing real                                                    100% of fair market value, up to
     property taxes at 18% interest or to                                                  any applicable statutory limit
     pay proportionate share of real
     property taxes.
     Line from Schedule A/B: 33.1

     Claim against neighbor on the east                               Unknown                                         $0.00       11 U.S.C. § 522(b)(3)(B)
     side of 1312 Polk Street for
     maintaining an illegal structure on                                                   100% of fair market value, up to
     the wall of 1312 Polk Street. Owners                                                  any applicable statutory limit
     are CAUCCI,ROBERT; SALVI,LUCY
     of the property known as 222 N 13
     AVENUE, HOLLYWOOD, their mailing
     address is 8257 GI
     Line from Schedule A/B: 34.1


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Kevin Christopher Gleason
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                                          Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                               value of collateral.   claim                   If any
         Broward County Tax
 2.1                                              Describe the property that secures the claim:                     $6,955.40              $157,310.00                   $0.00
         Collector
         Creditor's Name                          4121 N 31st Avenue Hollywood, FL
         115 S. Andrews Ave.                      33021-2011 Assumes that taxes in
         A-100                                    2016 are the same as 2015
                                                  As of the date you file, the claim is: Check all that
         Fort Lauderdale, FL                      apply.
         33301-1895                                   Contingent
         Number, Street, City, State & Zip Code
                                                   XUnliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and ano her          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
     community debt

                                 01/01/2015
                                 and
 Date debt was incurred          01/01/2016                Last 4 digits of account number        0739


         Broward County Tax
 2.2                                              Describe the property that secures the claim:                     $9,044.54              $559,800.00                   $0.00
         Collector
         Creditor's Name                          1312 Polk Street Hollywood, FL
                                                  33019-1037
         115 S Andrews Avenue,                    Assumes that taxes in 2016 are the
         Room A-100                               same as 2015
                                                  As of the date you file, the claim is: Check all that
         Fort Lauderdale, FL                      apply.
         33301                                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 8
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)   16-10001-JKO
             First Name                  Middle Name                       Last Name


    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2016                  Last 4 digits of account number         0136

       Broward County Tax
 2.3                                              Describe the property that secures the claim:                     $8,212.03        $529,950.00             $0.00
       Collector
       Creditor's Name                            1442 Polk Street Hollywood, FL
                                                  33020-5245 Broward County
                                                  Personal residence since 2009.
                                                                                                            Assumes taxes are the same in 2016 as 2015.
                                                  Subject to non-recourse mortgage.
                                                  LOTS 25 AND 26, BLOCK 94, OF
                                                  HOLLYWOOD, ACCORDING TO THE
                                                  PLAT THEREOF, RECORDED IN
       115 S Andrews Avenue,                      PLAT BOOK 1, PAGE 21, OF THE
       Room A-100                                 PUB
                                                  As of the date you file, the claim is: Check all that
       Fort Lauderdale, FL                        apply.
       33301                                           Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2016                  Last 4 digits of account number         2739

       Deutsche Bank National
 2.4                                              Describe the property that secures the claim:                  $756,362.16         $559,800.00       Unknown
       Trust Company
       Creditor's Name                            1312 Polk Street Hollywood, FL
                                                  33019-1037 Broward County
                                                  Landlord occupational license
                                                  location. LOTS 17, 18, 19 AND THE
                                                  EAST 4.00 FEET OF THE SOUTH
                                                  50.00 FEET OF LOT 20, BLOCK 10,
                                                  HOLLYWOOD LAKES SECTION, A
                                                  SUBDIVISION ACCORDING TO THE
       1761 East Saint Andrew                     P
                                                  As of the date you file, the claim is: Check all that
       Place                                      apply.
       Santa Ana, CA 92705                             Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        07/14/2004                  Last 4 digits of account number         6456




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 8
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)   16-10001-JKO
             First Name                  Middle Name                       Last Name


       Deutsche Bank Trust
 2.5                                              Describe the property that secures the claim:                  $451,833.20         $157,310.00       Unknown
       Company Americas
       Creditor's Name                            4121 N 31st Avenue Hollywood, FL
                                                  33021-2011 Broward County
                                                  Business location. THE SOUTH 105
                                                  FEET OF THE NORTH 555 FEET OF
                                                  THE EAST 130 FEET OF THE WEST
                                                  1/2 OF THE NORTHWEST 1/4 OF
                                                  THE NORTHEAST 1/4 OF THE
                                                  NORTHEAST 1/4 OF SECTION 5,
                                                  TOWN
                                                  As of the date you file, the claim is: Check all that
       60 Wall Street, 37th Floor                 apply.
       New York, NY 10005                              Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        02/01/2006                  Last 4 digits of account number         5152

 2.6   Ilene Klasfeld                             Describe the property that secures the claim:                       $307.95          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E
                                                  As of the date you file, the claim is: Check all that
       1908 NW 4th Ave #112                       apply.
       Boca Raton, FL 33432                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2012                  Last 4 digits of account number         O000

 2.7   INA Group, LLC                             Describe the property that secures the claim:                       $670.05          $5,660.00             $0.00




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 8
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)   16-10001-JKO
             First Name                  Middle Name                       Last Name


       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
       6333 APPLES WAY,                           33E
                                                  As of the date you file, the claim is: Check all that
       SUITE 115                                  apply.
       Lincoln, NE 68516                               Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2009                  Last 4 digits of account number         O000

 2.8   Joseph Edward Gazza                        Describe the property that secures the claim:                       $405.51          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E
                                                  As of the date you file, the claim is: Check all that
       PO BOX 4281                                apply.
       Tequesta, FL 33469                              Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2010                  Last 4 digits of account number         O000

 2.9   Joseph Edward Gazza                        Describe the property that secures the claim:                       $358.37          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E
                                                  As of the date you file, the claim is: Check all that
       PO BOX 4281                                apply.
       Tequesta, FL 33469                              Contingent
       Number, Street, City, State & Zip Code          Unliquidated



Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 8
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)   16-10001-JKO
             First Name                  Middle Name                       Last Name


                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2011                  Last 4 digits of account number         O000

 2.1
 0     Joseph Edward Gazza                        Describe the property that secures the claim:                       $279.36          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E
                                                  As of the date you file, the claim is: Check all that
       PO BOX 4281                                apply.
       Tequesta, FL 33469                              Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2013                  Last 4 digits of account number         O000

 2.1   Okeechobee County Tax
 1     Collector                                  Describe the property that secures the claim:                       $202.58          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E                                                       Assumes taxes are the same in 2016 as 2015.
                                                  As of the date you file, the claim is: Check all that
       307 NW 5th Ave Suite B                     apply.
       Okeechobee, FL 34972                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2016                  Last 4 digits of account number         O000

Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 8
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)   16-10001-JKO
             First Name                  Middle Name                       Last Name




 2.1   Okeechobee County Tax
 2     Collector                                  Describe the property that secures the claim:                       $261.41          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E
                                                  As of the date you file, the claim is: Check all that
       307 NW 5th Ave Suite B                     apply.
       Okeechobee, FL 34972                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2014                  Last 4 digits of account number         O000

 2.1   Okeechobee County Tax
 3     Collector                                  Describe the property that secures the claim:                       $202.58          $5,660.00             $0.00
       Creditor's Name                            16469 NW 288TH ST Okeechobee,
                                                  FL Okeechobee County
                                                  Vacant land accepted in lieu of a
                                                  fee. Parcel ID
                                                  1-14-34-33-0A00-00030-O000, LOT
                                                  O OF TRACT 30 W1/2 OF E1/2 OF
                                                  S1/2 OF S1/2 OF TRACT 30 14 34S
                                                  33E
                                                  As of the date you file, the claim is: Check all that
       307 NW 5th Ave Suite B                     apply.
       Okeechobee, FL 34972                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and ano her            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        01/01/2015                  Last 4 digits of account number         O000

 2.1   Toyota Southeast
 4     Finance                                    Describe the property that secures the claim:                   $21,045.74          $17,308.00       $3,737.74




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 8
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)   16-10001-JKO
             First Name                  Middle Name                       Last Name


       Creditor's Name                            2015 Toyota Prius II 1323 miles
                                                  Business use. VIN
                                                  JTDKN3DU8F1987829. Value stated
                                                  is purchase price on 12/09/15.
                                                  Usually at 4121 N 31st Ave.
                                                  Hollywood, FL 33021
                                                  As of the date you file, the claim is: Check all that
       POB 991817                                 apply.
       Mobile, AL 36691-8817                           Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        12/09/2015                  Last 4 digits of account number         1832


   Add the dollar value of your entries in Column A on this page. Write that number here:                              $1,256,140.88
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                             $1,256,140.88

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

        Name Address
        Brock & Scott, PLLC                                                                  On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.5
        1501 NW 49th Street. Suite 200
        Fort Lauderdale, FL 33309                                                            Last 4 digits of account number             3922



        Name Address
        Nationstar Mortgage LLC                                                              On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.4
        P.O. Box 619098
        Dallas, TX 75261                                                                     Last 4 digits of account number             5887



        Name Address
        Nationstar Mortgage, LLC                                                             On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.4
        350 HIGHLAND DR
        Lewisville, TX 75067                                                                 Last 4 digits of account number             XXXX



        Name Address
        Ocwen                                                                                On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.5
        P.O. Box 24738
        West Palm Beach, FL 33416-4738                                                       Last 4 digits of account number             5152




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 7 of 8
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 Debtor 1 Kevin Christopher Gleason                                                          Case number (if know)   16-10001-JKO
             First Name                 Middle Name                  Last Name




        Name Address
        Shapiro, Fishman & Gache, LLP                                            On which line in Part 1 did you enter the creditor?
                                                                                                                                        2.4
        2424 N Federal Hwy. #360
        Boca Raton, FL 33431                                                     Last 4 digits of account number        9984




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 8 of 8
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 Fill in this information to identify your case:

 Debtor 1                     Kevin Christopher Gleason
                              First Name                     Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)          First Name                     Middle Name                       Last Name

 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim        Priority               Nonpriority
                                                                                                                                           amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number       3815               Unknown                   $0.00                   $0.00
              Priority Creditor's Name
              Centralized Insolvency                                 When was the debt incurred?           01/01/2016
              Operations
              POB 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        federal income taxes for 2015

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in his part. Submit his form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
       claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
       creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                            Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 5
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 Debtor 1 Kevin Christopher Gleason                                                                       Case number (if know)             16-10001-JKO

 4.1      Barclays Bank Delaware                                     Last 4 digits of account number       XXXX                                              $12,090.26
          Nonpriority Creditor's Name
          125 S WEST ST                                              When was the debt incurred?           02/01/2006
          Wilmington, DE 19801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business Credit Card. Calculated amount
                                                                                         due under formula in Settlement
                                                                                         Stipulation, $12,753.26, plus court costs of
              Yes                                                       Other. Specify   $337, less amounts paid $1000.

 4.2      Dept of the Treasury                                       Last 4 digits of account number       3815                                                $9,381.26
          Nonpriority Creditor's Name
          Internal Revenue Service                                   When was the debt incurred?           12/31/10, 12/31/11
          Philadelphia, PA 19255-0030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Federal income taxes, interest, penalties


 4.3      Discover Card                                              Last 4 digits of account number       2529                                                $9,723.68
          Nonpriority Creditor's Name
          POB 15316                                                  When was the debt incurred?           07/01/1986
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 5
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 Debtor 1 Kevin Christopher Gleason                                                                       Case number (if know)             16-10001-JKO

 4.4      Discover Card                                              Last 4 digits of account number       0987                                                $4,148.69
          Nonpriority Creditor's Name
          POB 15316                                                  When was the debt incurred?           06/01/2008
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Credit Card


 4.5      LEONARD BASHKIN                                            Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          100 Riverstone Drive                                       When was the debt incurred?           08/07/2015
          Moreland Hill, OH 44022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Asserted complaints about rats and
                                                                                         deteriorated condition of the property
                                                                                         located at 1312 Polk St. He owns the
              Yes                                                       Other. Specify   adjacent property.

 4.6      Midland Funding, LLC                                       Last 4 digits of account number       XXXX                                                $1,652.00
          Nonpriority Creditor's Name
          2365 Northside Drive, # 300                                When was the debt incurred?           01/08/2013
          San Diego, CA 92108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Credit Card. Original Creditor FIA
                                                                                         CARD SERVICES N.A. Collection of this
              Yes                                                       Other. Specify   debt is barred by the statute of limitations.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 5
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 Debtor 1 Kevin Christopher Gleason                                                                         Case number (if know)            16-10001-JKO

 4.7       Midland Funding, LLC                                      Last 4 digits of account number         XXXX                                             $10,740.00
           Nonpriority Creditor's Name
           2365 Northside Drive, # 300                               When was the debt incurred?             01/08/2013
           San Diego, CA 92108
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
                                                                         Unliquidated
              Debtor 2 only
                                                                         Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                    Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Business Credit Card. Original Creditor FIA
                                                                                           CARD SERVICES N.A. Collection of this
              Yes                                                        Other. Specify    debt is barred by the statute of limitations.

 4.8       Patricia E Gleason                                        Last 4 digits of account number                                                          $40,000.00
           Nonpriority Creditor's Name
           1442 Polk St                                              When was the debt incurred?             01/01/2010
           Hollywood, FL 33021
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
                                                                         Unliquidated
              Debtor 2 only
                                                                         Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                    Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Paid mortgage on 1442 Polk St when I was
                                                                                           unable to do so. I agreed to reimburse her
                                                                                           for all payments she made. The amount is
              Yes                                                        Other. Specify    estimated. A claim will likely be filed.

 4.9       PNC Bank, N.A.                                            Last 4 digits of account number         0905                                            $107,347.73
           Nonpriority Creditor's Name
           1 Financial Plaza                                         When was the debt incurred?             01/01/2007
           Kalamazoo, MI 49009
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
                                                                         Unliquidated
              Debtor 2 only
                                                                         Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                    Student loans
              Check if this claim is for a community debt               Obliga ions arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Business Equity line on 1312 Polk Street,
              Yes                                                        Other. Specify    released.

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 4 of 5
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 Debtor 1 Kevin Christopher Gleason                                                                        Case number (if know)           16-10001-JKO

 Hayt, Hayt & Landau, P.L.                                      Line 4.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Dana M. Stern                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 7765 SW 87 Avenue, Suite 101
 Miami, FL 33173
                                                                Last 4 digits of account number                    8372
 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 PNC Bank                                                       Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Bankruptcy Dept.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 6750 Miller Rd.
 Brecksville, OH 44141
                                                                Last 4 digits of account number                    0905

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                           Total claim
                        6a.   Domestic support obligations                                                   6a.       $                            0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                           6b.       $                            0.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.       $                            0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.       $                            0.00

                        6e.   Total. Add lines 6a through 6d.                                                6e.       $                            0.00

                                                                                                                      Total Claim
                        6f.   Student loans                                                                  6f.       $                            0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                              6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                  195,083.62

                        6j.   Total. Add lines 6f through 6i.                                                6j.       $                  195,083.62




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 5 of 5
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 Fill in this information to identify your case:

 Debtor 1                 Kevin Christopher Gleason
                          First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name               Last Name

 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


        Person or company with whom you have the contract or lease                       State what the contract or lease is for
                          Name, Number, Street, City, State and Z P Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Kevin Christopher Gleason
                            First Name                           Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name            Last Name

 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Estate of Alan Fleishman                                                                Schedule D, line   2.11
                c/o Elise Fleishman                                                                     Schedule E/F, line
                1076 SW 42 Ave
                                                                                                        Schedule G
                Deerfield Beach, FL 33442-8255
                                                                                                      Okeechobee County Tax Collector




    3.2         Estate of Alan Fleishman                                                                Schedule D, line   2.7
                c/o Elise Fleishman                                                                     Schedule E/F, line
                1076 SW 42 Ave
                                                                                                        Schedule G
                Deerfield Beach, FL 33442-8255
                                                                                                      INA Group, LLC




    3.3         Estate of Alan Fleishman                                                                Schedule D, line   2.8
                c/o Elise Fleishman                                                                     Schedule E/F, line
                1076 SW 42 Ave
                                                                                                        Schedule G
                Deerfield Beach, FL 33442-8255
                                                                                                      Joseph Edward Gazza




Official Form 106H                                                                 Schedule H: Your Codebtors                                 Page 1 of 4
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 Debtor 1 Kevin Christopher Gleason                                                     Case number (if known)   16-10001-JKO


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:


    3.4      Estate of Alan Fleishman                                                          Schedule D, line   2.9
             c/o Elise Fleishman                                                               Schedule E/F, line
             1076 SW 42 Ave
                                                                                               Schedule G
             Deerfield Beach, FL 33442-8255
                                                                                             Joseph Edward Gazza




    3.5      Estate of Alan Fleishman                                                          Schedule D, line   2.10
             c/o Elise Fleishman                                                               Schedule E/F, line
             1076 SW 42 Ave
                                                                                               Schedule G
             Deerfield Beach, FL 33442-8255
                                                                                             Joseph Edward Gazza




    3.6      Estate of Alan Fleishman                                                           Schedule D, line   2.6
             c/o Elise Fleishman                                                                Schedule E/F, line
             1076 SW 42 Ave
                                                                                                Schedule G
             Deerfield Beach, FL 33442-8255
                                                                                             Ilene Klasfeld




    3.7      Estate of Alan Fleishman                                                          Schedule D, line   2.12
             c/o Elise Fleishman                                                               Schedule E/F, line
             1076 SW 42 Ave
                                                                                               Schedule G
             Deerfield Beach, FL 33442-8255
                                                                                             Okeechobee County Tax Collector




    3.8      Estate of Alan Fleishman                                                          Schedule D, line   2.13
             c/o Elise Fleishman                                                               Schedule E/F, line
             1076 SW 42 Ave
                                                                                               Schedule G
             Deerfield Beach, FL 33442-8255
                                                                                             Okeechobee County Tax Collector




    3.9      Florida Registered Agents, Inc.                                                   Schedule D, line
             4121 N 31st Ave                                                                   Schedule E/F, line      4.3
             Hollywood, FL 33021-2011
                                                                                               Schedule G
                                                                                             Discover Card



    3.10     Kevin Gleason, P.A.                                                               Schedule D, line
             4121 N 31st Ave                                                                   Schedule E/F, line 4.1
             Hollywood, FL 33021-2011
                                                                                               Schedule G
                                                                                             Barclays Bank Delaware




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 2 of 4
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 Debtor 1 Kevin Christopher Gleason                                                     Case number (if known)   16-10001-JKO


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:
    3.11     Kevin Gleason, P.A.                                                               Schedule D, line
             4121 N 31st Ave                                                                   Schedule E/F, line 4.7
             Hollywood, FL 33021-2011
                                                                                               Schedule G
                                                                                             Midland Funding, LLC



    3.12     Patricia E Gleason                                                                Schedule D, line   2.1
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Broward County Tax Collector



    3.13     Patricia E Gleason                                                                Schedule D, line   2.2
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Broward County Tax Collector



    3.14     Patricia E Gleason                                                                 Schedule D, line   2.6
             1442 Polk St                                                                       Schedule E/F, line
             Hollywood, FL 33021
                                                                                                Schedule G
                                                                                             Ilene Klasfeld



    3.15     Patricia E Gleason                                                                Schedule D, line   2.7
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             INA Group, LLC



    3.16     Patricia E Gleason                                                                Schedule D, line   2.8
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Joseph Edward Gazza



    3.17     Patricia E Gleason                                                                Schedule D, line   2.9
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Joseph Edward Gazza




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 3 of 4
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 Debtor 1 Kevin Christopher Gleason                                                     Case number (if known)   16-10001-JKO


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:
    3.18     Patricia E Gleason                                                                Schedule D, line   2.10
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Joseph Edward Gazza



    3.19     Patricia E Gleason                                                                Schedule D, line   2.11
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Okeechobee County Tax Collector



    3.20     Patricia E Gleason                                                                Schedule D, line   2.12
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Okeechobee County Tax Collector



    3.21     Patricia E Gleason                                                                Schedule D, line   2.13
             1442 Polk St                                                                      Schedule E/F, line
             Hollywood, FL 33021
                                                                                               Schedule G
                                                                                             Okeechobee County Tax Collector




         Schedules I and J are on extension.

Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                 Kevin Christopher Gleason
                          First Name                        Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name             Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Kevin Christopher Gleason                                             X
              Kevin Christopher Gleason                                                 Signature of Debtor 2
              Signature of Debtor 1

              Date     January 15, 2016                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Kevin Christopher Gleason
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           16-10001-JKO
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)
 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                            Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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 Debtor 1      Kevin Christopher Gleason                                                                    Case number (if known)   16-10001-JKO


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)
 For last calendar year:                              Wages, commissions,                       $71,429.22            Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                            Operating a business


 For the calendar year before that:                   Wages, commissions,                         $8,500.00           Wages, commissions,
 (January 1 to December 31, 2014 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Describe below..                 (before deductions and         Describe below.               (before deductions
                                                                                    exclusions)                                                  and exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                   an attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Deutsche Bank Nat Trust Co v.                            Foreclosure                 Circuit Court Broward                       Pending
       Kevin C Gleason, et al                                                               County                                      On appeal
       CACE-15-021920 Div 11                                                                201 SE 6th Street
                                                                                                                                        Concluded
                                                                                            Fort Lauderdale, FL 33301
                                                                                                                                     Foreclosure 1312 Polk
                                                                                                                                     Street

       Barclays Bank Delaware v Kevin C                         Collection                  County Court, Broward                       Pending
       Gleason                                                                              County, Florida                             On appeal
       13-3274-COWE-81
                                                                                                                                        Concluded

                                                                                                                                     Stipluated Settlement

       Gleason, Kevin C & Patricia E                            Value Adjustment            Broward County Value                        Pending
       2014-12661                                               Board Challenge             Adjustment Board                            On appeal
                                                                related to 1312             115 S. Andrews Ave.
                                                                                                                                        Concluded
                                                                Polk St                     Fort Lauderdale, FL 33301
                                                                                                                                     Value adjustment

       In re Groupon, Inc. Marketing and                        Class action                                                            Pending
       Sales Practices Litigation                               regarding                                                               On appeal
       No. 3:11-md-02238-DMS-RBB                                Groupon
                                                                                                                                        Concluded


       Dremak v. Groupon, Inc                                   Class action                (Ill. Cir. Ct., Kane County)                Pending
       No. 11-CH-0876                                           against Groupon                                                         On appeal
                                                                                                                                        Concluded


       Koday v Symantec                                         Class Action                USDC DISTRICT OF                            Pending
       Civil Action No. 11-CV-00180                                                         Minnesota                                   On appeal
                                                                                            300 South Fourth Street
                                                                                                                                        Concluded
                                                                                            Minneapolis, MN 55415
                                                                                                                                     Class action

       Holmes v. Bank of America, N.A.                          Class action                WDNC                                        Pending
       et. al.,                                                                                                                         On appeal
       3:12-cv-00487
                                                                                                                                        Concluded

                                                                                                                                     Class action

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 Debtor 1      Kevin Christopher Gleason                                                                    Case number (if known)   16-10001-JKO


       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Discover v. Florida Registered                           Collection                  Broward County Court                        Pending
       Agents, Kevin C Gleason                                                                                                          On appeal
       COWE15000504
                                                                                                                                        Concluded

                                                                                                                                     Dismissed, second time


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                Include the amount that insurance has paid. List                  loss                               lost
                                                            pending insurance claims on line 33 of Schedule A/B:
                                                            Property.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4

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       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List                  loss                            lost
                                                            pending insurance claims on line 33 of Schedule A/B:
                                                            Property.
       Florida Lottery                                      None                                                              Mostly in                      $30.00
                                                                                                                              12/2015 as
                                                                                                                              gifts

       Powerball 1.6 billion drawing on                     None                                                              1/13/16                        $20.00
       1/13/16


 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Debthelper.com                                                Prebankruptcy credit counseling                          12/24/15                       $24.00
       Online
       debthelper.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Yard Sale                                                     Junk put out for yard sale                 I let the kids keep             two or three
                                                                                                                whatever they got               times per year



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5

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 Debtor 1      Kevin Christopher Gleason                                                                    Case number (if known)   16-10001-JKO


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.       Some trustee to trustee transfers were made between IRA accounts in 12/2015. Not responsive to this.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was           Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Mildew Manor is what we call it                               Kevin C Gleason, Patricia              Misc reclaimed building                   No
       1312 Polk Street                                              E Gleason, Stanley                     materials, cabinets, toilets,             Yes
       Hollywood, FL 33019                                           Svetich                                bidets, reclaimed wood
                                                                                                            flooring, reclaimed doors

       The Office                                                    Kevin C Gleason, Patricia              Clothing, firearms, misc                  No
       4121 N 31st Ave                                               E Gleason, Stacey D                    personal property                         Yes
       Hollywood, FL 33021-2011                                      Mittler, daughter


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                              Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Patricia E Gleason                                            1442 Polk Street                       Personal property of Patricia                Unknown
       1442 Polk Street                                              Hollywood, FL 33020                    Gleason, clothing, jewelry,
       Hollywood, FL 33020                                                                                  artwork, keepsakes,
                                                                                                            electronics, furniture,
                                                                                                            firearms and accessories.
                                                                                                            Large Photograph of Bayside
                                                                                                            Marketplace in Miami

       Florida Bankruptcy Group, LLC                                 Usually on or near my                  Cell phone, Dell notebook                    Unknown
       4121 N 31st Ave                                               person                                 computer, computer
       Hollywood, FL 33021-2011                                                                             backpack, portable
                                                                                                            accessories


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6

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       Owner's Name                                                  Where is the property?                     Describe the property                              Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Swearingen & Associates                                       Wells Fargo IOLTA                          Funds in Trust Account,                            $0.00
                                                                     Account                                    approximately $65,000

       Viktoria Benkovitch                                           Seaside Nat Bank                           $500 in Chapter 11 disbursing                      $0.00
                                                                                                                agent account

       Daughter                                                      1442 Polk St and 4121 N                    Clothing, electronics, jewelry,              Unknown
       1442 Polk St                                                  31st Ave                                   furniture, firearms and
       Hollywood, FL 33021-2011                                                                                 accessories, personal
                                                                                                                records.

       Son                                                           1442 Polk St and 4121 N                    Clothing, electronics, jewelry,              Unknown
       1442 Polk St                                                  1st Ave                                    furniture, firearms and
       Hollywood, FL 33020                                                                                      accessories, personal
                                                                                                                papers.


 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Debtor 1      Kevin Christopher Gleason                                                                    Case number (if known)   16-10001-JKO


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                  A member of a limited liability company (LLC) or limited liability partnership (LLP)

                  A partner in a partnership

                  An officer, director, or managing executive of a corporation

                  An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Florida Bankruptcy Group, LLC                           Law firm                                         EIN:         XX-XXXXXXX
        4121 N 31st Avenue
        Hollywood, FL 33021-2011                                Patricia E Gleason                               From-To 11/13/2009 - present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Al Hendrickson Toyota                                   12/09/2015
        5201 W Sample Rd
        Coconut Creek, FL 33073

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Kevin Christopher Gleason
 Kevin Christopher Gleason                                              Signature of Debtor 2
 Signature of Debtor 1

 Date      January 15, 2016                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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